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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 HELLRING LINDEMAN GOLDSTEIN
  & SIEGAL LLP
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 In Re:                                                 Case No. 22-10462 (JKS)

 QUALITY KITCHENS OF PHILADELPHIA,                      Judge: John K. Sherwood
 INC.,
                                                        Chapter 7 Proceeding
                               Debtor.


 BENJAMIN A. STANZIALE, Jr., Chapter 7                  Adv. Pro. No. 24-01036 JKS
 Trustee for Quality Kitchens of Philadelphia, Inc.,

                               Plaintiff,

 v.

 AMERICAN EXPRESS COMPANY,
 AMERICAN EXPRESS TRAVEL RELATED
 SERVICES COMPANY, INC., AMERICAN
 EXPRESS NATIONAL BANK, STEPHEN EARL,
 JONATHAN EARL and DAVID EARL,

                               Defendants.


                                  AMENDED COMPLAINT

               Plaintiff, Benjamin A. Stanziale, Jr. Chapter 7 Trustee (“Plaintiff” or “Trustee”)

for Quality Kitchens of Philadelphia, Inc. (“Debtor”), by way of Amended Complaint against

defendants, Stephen Earl (“Stephen”), Jonathan Earl (“Jonathan”), David Earl (“David”),

American Express Company (“AmexCo”), American Express Travel Related Services Company,
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Inc. (“Amex TRS”), and American Express National Bank (“Amex NB”) (all three collectively

or any one or more of the three, “Amex”), says as follows:

                                JURISDICTION AND VENUE

               1.      Debtor filed a Petition under Chapter 7 of the United States Bankruptcy

Code on January 20, 2022.

               2.      The Trustee was appointed as Chapter 7 Trustee by the United States

Trustee on January 20, 2022 and is the duly qualified and acting trustee of the estate of the

Debtor.

               3.      This adversary proceeding relates to the Chapter 7 case of the Debtor.

               4.      The United States Bankruptcy Court for the District of New Jersey has

jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§157(b)(1) and 1334 because

this is an adversary proceeding arising under, or arising in or related to, the Debtor's bankruptcy

proceedings under Title 11.

               5.      This matter is a core proceeding within the meaning of 28 U.S.C.

§§157(b)(2)(A), (H) and (O).

               6.      Venue is properly laid in this District pursuant to 28 U.S.C. §1409.

               7.      Plaintiff brings this adversary proceeding pursuant to §§544, 548 and 550

of the Bankruptcy Code and Bankruptcy Rule 7001, et seq.

                                            PARTIES

               8.      According to Debtor’s Petition, Jonathan was the President and a 24%

owner of the Debtor.

               9.      According to the Debtor’s Petition, David was not an officer or owner of

the Debtor.




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               10.     According to Debtor’s Petition, Stephen was a 76% owner of the Debtor,

and, upon information and belief, is the father of Jonathan and David.

               11.     Upon information and belief, Amex NB is a subsidiary of Amex TRS

which is a subsidiary of AmexCo. One or more of Amex are financial institutions that, among

other activities, issued credit cards to an entity related to the Debtor, The Merit Corporation

(“Merit”) (account ending in 1009) (whose own companion Chapter 7 is pending under Case No.

22-10460-JKS), Stephen (account ending in 2000), and Jonathan (accounts ending in 3003

and/or 2005) and, upon information and belief, provide credit card services to consumers and

businesses across the country. Upon information and belief, at least one credit card account

upon which the Debtor made payments as set forth hereinafter in this complaint was issued by

each of Amex TRS (account ending 1009) and Amex NB (account ending 2000).

                                    BACKGROUND FACTS

               12.     The Trustee and his professionals examined the Debtor’s available

financial books and records.

Amex

               13.     During the period from February 16, 2018 through April 17, 2018, the

Debtor made payments to Amex from the Debtor’s Santander Bank account ending in 3568 by

ACH in the total amount of $200,245.83, as set forth on the attached Exhibit A (“Amex

Payments”). Those payments satisfied amounts due on accounts held in the name of The Merit

Corporation, Jonathan Earl, and Stephen Earl, as set forth on Exhibit A, since Debtor had no

Amex credit cards.

               14.     The Trustee served a subpoena on Amex on July 28, 2023, seeking credit

card statements for the four years prior to the filing of the Petition covering the above accounts

of which the Trustee was aware, as well as other possible accounts of the Debtor, but did not


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receive the full responsive production of such records until December 1, 2023. Initial review of

these records evidenced that this production did not cover all payments made to Amex, so a

second subpoena was served on December 11, 2023. A third subpoena was served on January 9,

2023. A response to these latter two subpoenas was not received until January 10, 2024. As a

result, the Trustee has not been able to date to fully delineate which payments relate to which

Amex cards.

Jonathan Earl

               15.      During the years preceding the filing of the Petition, Jonathan earned a

substantial salary as President of the related entity, Merit, which amounted to $244,385 in 2020

and $283,766 in 2021.

               16.      $52,746 of the Amex Payments were made in satisfaction of charges on

Jonathan’s personal Amex account(s) (“Amex/Jonathan Card Payments”). The Amex/Jonathan

Card Payments are set forth on attached Exhibit A.

               17.      During the four-year period before the filing of the Petition, the Debtor

made payment(s) from the Debtor’s Santander Bank account ending in 3568 by ACH which paid

for the charges on Merit’s Amex credits card(s) issued specifically to Jonathan. Upon

information and belief, a portion of the Debtor’s aforesaid payments to Amex on the Merit’s

Amex credit card(s) during the four years before the filing of the Petition (“Amex/Jonathan

Payments”) were in payment for charges that were for the personal expenses of Jonathan, and not

for legitimate business expenses of the Debtor.

David Earl

               18.      During the years preceding the filing of the Petition, David earned a

substantial salary as Vice-President and Secretary of the related entity, Merit, which amounted to

$222,284 in 2020 and $243,430 in 2021.


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                19.     During the four-year period before the filing of the Petition, the Debtor

made payment(s) from the Debtor’s Santander Bank account ending in 3568 by ACH which paid

for the charges on the Merit’s Amex credits card(s) issued specifically to David. Upon

information and belief, a portion of the Debtor’s aforesaid payment(s) to Amex on Merit’s Amex

credit card(s) and during the four years before the filing of the Petition (“Amex/David

Payments”) were in payment for charges that were for the personal expenses of David, and not

for legitimate business expenses of the Debtor.

Stephen Earl

                20.     Stephen was not employed by the Debtor, nor an officer of the Debtor at

the time of the filing of the Petition, nor, upon information and belief, in the four years prior to

the filing of the Petition in this case.

                21.     $80,684.33 of the Amex Payments were made in satisfaction of charges on

Stephen’s personal Amex account (“Amex/Stephen Card Payments”). The Amex/Stephen Card

Payments are set forth on attached Exhibit A.

                22.     During the four-year period before the filing of the Petition, the Debtor

made payment(s) from the Debtor’s Santander Bank account ending in 3568 by ACH which paid

for the charges on Merit’s Amex credits card(s) issued specifically to Stephen. Upon

information and belief, the Debtor’s aforesaid payments to Amex on Merit’s Amex credit card(s)

during the four years before the filing of the Petition (“Amex/Stephen Payments”) were in

payment for charges that were for the personal expenses of Stephen, and not for legitimate

business expenses of the Debtor.

                                           FIRST COUNT

                23.     Plaintiff repeats and realleges the allegations contained in the preceding

paragraphs of this Complaint as if set forth more fully herein.


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               24.     The Amex/Jonathan Payments, the Amex/Jonathan Card Payments, the

Amex/David Payments, the Amex/Stephen Card Payments, and the Amex/Stephen Payments

were made by the Debtor without receiving equivalent value in exchange for the aforesaid

payments.

               25.     Debtor’s income tax returns reflect that liabilities exceeded assets at

December 31, 2017 and December 31, 2018. Furthermore, Debtor’s tax returns show net losses

for tax purposes in all years from 2018 through the filing of the bankruptcy petition.

               26.     The principals of the Debtor assert that the former Chief Financial Officer

of the Debtor had inflated sales and receivables on the books of the Debtor, leading to the

conclusion that Debtor’s accounts receivable were likely overstated on Debtor’s balance sheets,

deepening the apparent insolvency. Further, Debtor’s tax returns did not reflect liabilities to the

secured lender, its factor, to which, upon information and belief, it owed substantial funds, thus

also likely deepening Debtor’s insolvency.

                  27. Further, during the period from December 31, 2017 to December 31,

  2018, the Debtor’s current assets were insufficient to cover its current obligations, such as

  accounts payable and affiliates loans payable. During this period and thereafter, the Debtor

  borrowed heavily from its affiliate, Merit, in order to satisfy its obligations and fund

  operations. Merit, however, was also insolvent during this period of time.

               28.     The Debtor continued its business operations from January 20, 2018 to the

date of the filing of its petition. Upon information and belief, at the time of each of the payments

referenced above in paragraph 24, the Debtor was engaged or was about to engage in a business

or transaction for which the remaining assets of the Debtor were unreasonably small in relation

to the business or transaction.




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                  29.       Each of the payments referenced above in paragraph 24 were therefore

fraudulent transfers within the meaning of N.J.S.A. 25:2-25(b)(1)1, made applicable by §544 of

the Bankruptcy Code, with respect to the Trustee who may avoid any transfer voidable by a

creditor holding an unsecured claim.

                  30.       Pursuant to §550(a) of the Bankruptcy Code, the Trustee may recover the

payments or the value of such payments from the recipient of such payment or the individual for

whose benefit such payment was made for the benefit of the Debtor’s estate to the extent such

payments are avoided under §544 or §548 of the Bankruptcy Code.

                  WHEREFORE, the Trustee demands judgment as follows with respect to the

following defendants as to the transfers represented by the following payments: (i) with respect

to Amex and Stephen, jointly and severally, as to the Amex/Stephen Card Payments; (ii) with

respect to David and Amex, jointly and severally, as to the Amex/David Payments; (iii) with

respect to Jonathan and Amex, jointly and severally as to the Amex/Jonathan Payments; (iv) with

respect to Stephen and Amex, jointly and severally, as to the Amex/Stephen Payments; and

(v) with respect Jonathan and Amex, jointly and severally, as to the Amex/Jonathan Card

Payments:

                            a.       For avoidance of those transfers;

                            b.       For recovery of the property transferred or the value of the

property transferred to or for the benefit of that defendant;

                            c.       For interest and costs of suit; and

                            d.       For whatever further relief the Court may deem equitable.


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  This statute was amended prior to the filing of the petition in this action, but the amended version is inapplicable to
transfers that pre-date the amendment such as those at issue here.




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                                         SECOND COUNT

               31.     Plaintiff repeats and realleges the allegations contained in the preceding

paragraphs of this Complaint as if set forth more fully herein.

               32.     Defendants Jonathan, David and Stephen by their intentional conduct

described above, have improperly used, misappropriated and converted the property of the

Debtor with the intent to permanently deprive the Debtor of the same as set forth above.

               33.     The Debtor’s estate has sustained damages, including, but not limited to,

the expenditure of monies to pay expenses incurred by Jonathan, David and Stephen for each of

their benefit and not that of the Debtor, all as a result of the aforesaid conduct of these

defendants.

               WHEREFORE, the Trustee demands judgment as follows with respect to the

following defendants as to the transfers represented by the following payments: (i) with respect

to Stephen and Jonathan, jointly and severally, as to the Amex/Stephen Card Payments and the

Amex/Stephen Payments; (ii) with respect to David as to the Amex/David Payments; and

(iii) with respect to Jonathan as to the Amex/Jonathan Payments and the Amex/Jonathan Card

Payments:

                       a.       For damages in an amount to be determined by the Court;

                       b.       For interest and costs of suit; and

                       c.       For whatever further relief the Court may deem equitable.

                                          THIRD COUNT

               34.     Plaintiff repeats and realleges the allegations contained in the preceding

paragraphs of this Complaint as if set forth more fully herein.

               35.     Jonathan owed a fiduciary duty and obligation to the Debtor and its estate

as a consequence of his position as described above.


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               36.     The intentional conduct of Jonathan, as described above, including actions

resulting in misappropriation of corporate assets, constitutes a breach of his fiduciary duties and

obligations due and owing to the Debtor and its estate.

               37.     The Debtor’s estate has sustained damages, including, but not limited to,

the expenditure of monies to pay expenses incurred by Jonathan, David, and Stephen for each of

their benefit and not that of the Debtor, all as a result of the aforesaid conduct of Jonathan.

               WHEREFORE, the Trustee demands judgment as follows with respect to

Jonathan as to the transfers represented by the following payments: (i) the Amex/Stephen Card

Payments and the Amex/Stephen Payments; (ii) the Amex/David Payments; and (iii) the

Amex/Jonathan Payments and the Amex/Jonathan Card Payments:

                       a.       For damages in an amount to be determined by the Court;

                       b.       For interest and costs of suit; and

                       c.       For whatever further relief the Court may deem equitable.

                                         FOURTH COUNT

               38.     Plaintiff repeats and realleges the allegations contained in the preceding

paragraphs of this Complaint as if set forth more fully herein.

               39.     The individual defendants received payments on each of their behalf from

the Debtor to which each was not entitled and as to which the Debtor had the right to expect to

be recompensed by the Debtor. Upon information and belief, no defendant paid back the funds

in question to the Debtor.

               40.     As a result of the conduct described above, each of the individual

defendants have been unjustly enriched at the expense of Debtor and its estate.

               WHEREFORE, the Trustee demands judgment as follows with respect to the

following defendants as to the transfers represented by the following payments: (i) with respect


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to Stephen as to the Amex/Stephen Card Payments and the Amex/Stephen Payments; (ii) with

respect to David as to the Amex/David Payments; and (iii) with respect to Jonathan as to the

Amex/Jonathan Payments and the Amex/Jonathan Card Payment:

                      a.       Awarding restitution to the estate in the amount of said transfers;

                      b.       Directing that each such defendant disgorge and remit to the estate

the amount of the aforesaid transfers;

                      c.       For interest and costs of suit; and

                      d.       For whatever further relief the Court may deem equitable.


                                      HELLRING LINDEMAN GOLDSTEIN & SIEGAL LLP
                                      Attorneys for Plaintiff, Benjamin A. Stanziale, Jr., Chapter
                                      7 Trustee for Quality Kitchens of Philadelphia, Inc.



                                      By:                 /s/ Patricia A. Staiano
                                                         PATRICIA A. STAIANO
Dated: March 8, 2024                                      A Member of the Firm




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